Case 2:20-cv-01633-TAD-KK Document 1-2 Filed 12/15/20 Page 1 of 6 PageID #: 10


 ffi"cr      Corporation                                                              Service of Process
                                                                                      Transmittal
                                                                                       06t23r2m0
                                                                                      CT Log Number 537829430
     I10:          KIM LUNDY SERVICE OF PROCESS
                   WALIY1ART lNC.
                   702 SW 8TH ST
                   BENTONVTLLE, AR 727 1 6- 6209


     RE:           Pttcess Sewed ln Loulsiana
     FOR:          Wal-Mart Louisiana, LLC (Domestic State: DE)




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     TITLE oF      Asrtott:                  ldaricle Lisa, Pltf. rr. Wal-Mart Louisiana, LLC and John Doe, Dfts.
     DOGUHEilT(!) SERVED:

     COURflAGEI{cYr                          None Specified
                                             Care #2020M21

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     Oil   TUHil   PR,OGEIS WA3IERVED!       C   TCorporation System, Baton Rouge, LA
     DATE AI{D HOUR OF SERVICE               By hocess Server on 0612312020       at 09:25
                                             Louisiana
     APFEANAIICE OR ANSWER DUE:              None Specified

     ATTORil    Er(S)' SEil DER(al:          None Specified

     AGTIOT IIEMS:
                                             9f lqs.1qlqined the current [og, Retain Datez 0612312020, Expected Purge Date:
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                                             Emait     Notification,   KIM LUNDY SERVICE OF PROCESS ctlawsuits@walmarttegat.com


     SIGIfED:                                CT      Corpontion System
     ADDREEE!                                1999 Bryan 5t Ste 900
                                             Dallas, TX 75201-3140
     For   Quet{lon!!                        8n-564-7529
                                             lvlaj   orAccountTeam2@woltersktuwer. com




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                           LISA MARICLE                                         36TH   JUD]CIAL DISTRICT COURT

                                 VERSUS                                                PARISH OF BEAUREGARD

                                        LOUISIANA, LLC, JOHN DOE                            STATE OF LOUISIANA



                                                                                                             CLERK

                                                       PETTTTON FOR         DAMAgES
                                The Petition of Plaintiff, LISA MARICLE, domiciliary of Beauregard Parish,

                           respectfully represents:

                                                                       1.

                                Made defendant in this suit for damage are:

                                a)   WAL-MART LOUISIANA, LLG., a foreign Limited Liability Company doing
                                     business in lhe State of Louisiana, who may be served through its
                                     Registered Agent CT Corporation System, 3867 Plaza Tower Drive, Baton
                                     Rouge, La. 70816, hereinafter refened to as'WAL-[IART';

                                b)   JOHN DOE, an employee of Defendant, WAL-MART LOUISIANA, LLC
                                     whose identity is unknorarn at this time;

                                                                       2.

                                On or about July 2, 2019, Plainliff, LISA MARICLE, uas a custom€r at the place

                           of business owned by Defendant, WAL-MART, at 1125 N. Pine Street, DeRidder,

                           Beauregard Parish, Louisiana. Plaintiff, LISA MARICLE, desired to purchase some

                           deodorant. JOHN DOE, an unknown employee of Wal-Mart's, placed boxes in the

                           main aisle, presumably in preparation for stocking the items from the box. As Plaintiff

                           was looking for the deodorant aisle, she tripped and fell over the boxes in the aisle.

                                                                       3.

                                Plaintiff, LISA MARICLE, was free of fault and did not contribute to the cause of

                           this incident in any manner.

                                                                       4.

                               The fault, breach of duties, strict liabili$, intentional acts and/or negligence of the

                           Defendanfs employees are imputed to Defendant, WAL{IIART, who is liable for all

                           the acb or omissions of the employees because of the relationship existing belrnreen


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                          them.

                                                                       5.

                              The accident and resulting injuries and damages were caused by the fault,

                          negligence and/or strict liabilig of Defendants, JOHN DoE and WAL-MART, and/or

                          its employees in the following, among other, particulars:

                              a)    Failure to keep its premises free of any hazardous mnditions which
                                    reasonably might give rise to damage;

                              b)    Creating an unreasonably dangers condition on its premises;

                              c)    Failure to remedy an unreasonably dangerous condition on its premises;

                              d)    Failure to identify an unreasonably dangerous condition on its premises;

                              e)    Failure to properly train employees in the identification of unrcasonably
                                    dangers conditions on its premises;

                              f)    Placing boxes in the aisle in such a manner that it thrcatened the safety of
                                    its patrons;

                              g)    Failure to follonr, enforce and/or enact appropriate safety policies and
                                    procedures related to the storing of boxes of merchandise to be stocked in
                                    its main aisles;

                              h)    Failure to take neoessary precautions for the safety of visitors and/or
                                    invitees and/or fiailure to comply with policies concerning the safety of
                                    visitors and/or invitees:

                              i)    Failure to take appropriate ac{ion to avoid or mitigate the accident, when, in
                                    lhe exercise of due care, they should have had ample time and opportunity
                                    to do so;

                              D     Failure to prevent the presence of an unreasonably dangerous condition on
                                    its premises;

                              k)    Other acts of fault, negligence and strict liabili$ wtrich will be proven at trial;


                                                                       6.

                              Defendant, WAL-ltIART, is liable for the damages sustiained by Plaintifr pursuant

                          lo, among others, La. CivilCodeArticle 2315,2310,2317 and2317.1.

                                                                       7.

                              ln the event it is shown that the tault, negligence and strict and/or vicarious

                          liability of any other thsn Deftndant, WAL-MART, contribuEd to the incident


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                           described herein, petitioner shows that the fault, negligence and strict and/or

                           vicarious liability of Defendant, WAL-MART or its unknown employee, also

                           mntributed to and was the proximate cause of said incident.

                                                                          8.

                                As a result of the incident rcferred to above, Plaintiff, LISA MARICLE, suffered

                           the following injuries:

                                a)      BilaleralKnee Paln;

                                b)      Left Ankle Pain;

                                c)      BilateralHlp Pain;

                                d)      Lower Back Paln;

                                e)      Radiculopathy;

                                0       Other injuries which will be more pailicularly proven at trial.

                                                                          9.

                                As a result of the above injuries, Plainlrff. LlsA mARICLE, has suffered the

                           following damages:

                                A. Past, present and future pain and suffering;

                                 B. Past, present and future loss of enjoyment of life;

                                C. Past, present and future      living expenses;

                                 D. Past, present and future medicalexpenses;

                                 E. Past, prcsent and future emotlonal disbess;

                                 F.   lnterest;

                                 G. Costs;

                                 H.    Other damages to be more particularly proven at the trial on the merits;

                                THEREFORE, Plaintiff, LISA MARICLE, prays:

                                      l. Defendants be serued   with a copy of thls petition and duly cited to appear
                                        and answer the same;

                                    ll. That after due proceedings had, there be judgment rendered herein in favor
                                        of Plain$ff and against Oefendants, JOHN DOE and WAL-MART
                                        LOUISIANA, LLG, for such damages as are reasonable in the premises,
                                        together with the maximum legal interest from dale of judicial demand until

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Case 2:20-cv-01633-TAD-KK Document 1-2 Filed 12/15/20 Page 6 of 6 PageID #: 15


                                            paid and for all cosb of this proceeding;

                                     lll.   For full, general and equitable relief.

                                                                     BYAfiORNEY:




                                                                     CHARLES SAM JONES LAW, LLC
                                                                     105 Nor$ Stewart Street
                                                                     P.O. Box 995
                                                                     DeRidder, Louisiana 70634
                                                                     (337) 463-5532
                                                                     Bar No. 24119

                               $ERVICE INSTRUCTIONS:
                               Please serve Defendant,
                               WAL-MART LOUISIANA, LLC
                               consistent with Paragraph 1.




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